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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

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 In re:                                                             03-MDL-1570 (GBD)(SN)
 TERRORIST ATTACKS ON
 SEPTEMBER 11, 2001                                                 SUDAN
                                                                    NOTICE OF AMENDMENT

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This document relates to: _Ashton et al., al Qaeda Islamic Army, et al._________________
No. 02-CV-6977 (GBD)(SN).
        Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the
above-referenced matter, ECF No. __3237__, as permitted and approved by the Court’s Order
of December _1st, 2020, ECF No. __6547_. Upon the filing of this Notice of Amendment, the
underlying Complaint is deemed amended to add the individual(s) listed below (the “New
Plaintiff(s)”) as plaintiff(s) raising claims against the Republic of the Sudan. The underlying
Complaint is deemed amended to include the factual allegations, jurisdictional allegations, and
jury trial demand, as indicated below, of (a) the Consolidated Amended Complaint as to the
Republic of the Sudan (“SCAC”), ECF No. 6539, or (b) the Ashton Amended Complaint as to
Sudan Defendants in Ashton v. the Republic of the Sudan, No. 02-CV-6977 (GBD)(SN), ECF
No. 6537 (in 03-md-1570) (hereinafter, the “Ashton Sudan Amended Complaint”), as well as all
causes of action specified below. The amendment effected through this Notice of Amendment
supplements by incorporation into, but does not displace, the underlying Complaint. This Notice
of Amendment relates solely to the Republic of the Sudan and does not apply to any other
defendant.
        Upon filing this Sudan Notice of Amendment, each New Plaintiff is deemed to have
adopted all factual and jurisdictional allegations of the complaint that has been joined as specified
below; all prior filings in connection with that complaint; and all prior Orders and rulings of the
Court in connection with that complaint.
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                                               CAUSES OF ACTION
           Each New Plaintiff hereby adopts and incorporates herein by reference the following
factual allegations, jurisdictional allegations, and jury trial demand in the following complaint
[check only one complaint] and the following causes of action set forth in that complaint:

☐          Consolidated Amended Complaint as to the Republic of the Sudan
(“SCAC”), ECF No. 6539 (check all causes of action that apply):

           ☐         COUNT I – Claims under Section 1605A(c) of the Foreign Sovereign
                    Immunities Act, 28 U.S.C. § 1605A(c), on behalf of all Plaintiffs granted a
                    private right of action under 28 U.S.C. § 1605A.1

           ☐         COUNT II – Claims under Section 1605A(d) of the Foreign Sovereign
                    Immunities Act, 28 U.S.C. § 1605A(d), on behalf of all Plaintiffs granted
                    a private right of action under 28 U.S.C. § 1605A.2

           ☐        COUNT III – Aiding and Abetting and Conspiring with Al Qaeda to
                    commit the September 11th Attacks upon the United States in Violation of
                    18 U.S.C. § 2333(d) (JASTA), on behalf of all “U.S. National” Plaintiffs.3

           ☐         COUNT IV – Aiding and Abetting and Conspiring with Al Qaeda to
                    commit the September 11th Attacks upon the United States in Violation of
                    18 U.S.C. § 2333(a), on behalf of all “U.S. National” Plaintiffs.

           ☐        COUNT V – Committing acts of international terrorism in violation of 18
                    U.S.C. § 2333, on behalf of all “U.S. National” Plaintiffs.4


           ☐        COUNT VI – Wrongful Death, on behalf of all plaintiffs bringing
                    Wrongful Death claims.

1
 Section 1605A of the Foreign Sovereign Immunities Act grants a right of action to (1) nationals of the United
States, (2) members of the armed forces, (3) employees of the U.S. government (including individuals performing a
contract awarded by the U.S. Government) acting within the scope of employment, and legal representatives of
persons described in (1), (2), or (3).
2
    See preceding footnote.
3
  The causes of action pursuant to the ATA, 18 U.S.C. § 2331 et seq., are asserted on behalf of plaintiffs who are
U.S. nationals; estates, heirs, and survivors of U.S. nationals; U.S. nationals who are members of a putative class
represented by such plaintiffs; plaintiffs who are subrogated to the rights of U.S. nationals who incurred physical
injuries to property and related losses as a result of the September 11th attacks; and plaintiffs who are assignees of
U.S. nationals killed or injured in the September 11th attacks. The term “U.S. National Plaintiffs” in the context
claims under JASTA or the ATA refers to all such parties.
4
    See receding footnote.
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         ☐         COUNT VII – Negligence, on behalf of all plaintiffs.

         ☐         COUNT VIII – Survival, on behalf of all plaintiffs bringing wrongful
                   death claims.

         ☐         COUNT IX – Alien Tort Claims Act, on behalf of all Alien National
                   Plaintiffs.5

         ☐         COUNT X – Assault and Battery, on behalf of all plaintiffs bringing
                   wrongful death and personal injury claims.

         ☐         COUNT XI – Conspiracy, on behalf of all plaintiffs.

         ☐         COUNT XII – Aiding and Abetting, on behalf of all plaintiffs.

         ☐         COUNT XIII – Negligent and/or intentional infliction of emotional
                   distress on behalf of all plaintiffs.

         ☐          COUNT XIV – Liability pursuant to Restatement (SECOND) of Torts §
                   317 and Restatement (THIRD) of Agency § 7.05: Supervising Employees
                   and Agents, on behalf of all plaintiffs.

         ☐         COUNT XV – Liability pursuant to Restatement (SECOND) of Torts §
                   317 and Restatement (THIRD) of Agency § 7.05: Hiring, Selecting, and
                   Retaining Employees and Agents, on Behalf of all plaintiffs.

         ☐         COUNT XVI – 18 U.S.C. § 1962(a)-(d) – Civil RICO, on behalf of all
                   plaintiffs.

         ☐         COUNT XVII – Trespass, on behalf of all plaintiffs asserting claims for
                   property damage and economic injuries.

         ☐         COUNT XVIII –Violations of international law, on behalf of all plaintiffs.

☑ Ashton Sudan Amended Complaint, ECF No. 6537 (check all causes of action that apply):

          ☑        First Cause of Action to Recover Personal Injury and Wrongful Death
                   Damages Pursuant to Section 1605A of the Foreign Sovereign Immunities
                   Act, 28 U.S.C. § 1605A.

5
  The causes of action pursuant to the Alien Tort Claims Act (ATCA), 28 U.S.C. § 1350, are asserted on behalf of
plaintiffs who are alien nationals; estates, heirs, and survivors of alien nationals who are not themselves U.S.
nationals; alien nationals who are members of a putative class represented by such plaintiffs; subrogated to the rights
of alien nationals who incurred injuries to property and related losses as a result of the September 11th attacks; and
assignees of alien nationals killed or injured in the September 11th attacks.
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 ☑    Second Cause of Action to Recover Personal Injury and Wrongful Death
      Damages Pursuant to Section 1605B of the Foreign Sovereign Immunities
      Act, 28 U.S.C. § 1605B (JASTA) and the Anti-Terrorism Acts.

 ☑    Third Cause of Action for Personal Injury and Wrongful Death Injuries
      Pursuant to State Tort Law.

 ☑    Fourth Cause of Action for Personal Injury and Wrongful Death Damages
      Pursuant to the Alien tort Claims Act.

 ☑    Fifth Cause of Action for Punitive Damages.

 ☐    Sixth Cause of Action for Property Damage.
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                            IDENTIFICATION OF NEW PLAINTIFFS

Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks of

September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s name,

the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased family

member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the underlying

Complaint discussing the decedent and/or the decedent’s estate.



    Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
    (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
    last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                       at filing     ationality on                                       Discussing
                       (or death)    9/11/2001                                           9/11
                                                                                         Decedent
    Abad,              NY            USA             Abad, Edelmiro    Parent
1   Ascension                                                                              N/A

2   Abad, Jennifer NY                USA             Abad, Edelmiro    Child               N/A
    Abad,              NY            USA             Abad, Edelmiro    Spouse
3   Lorraine                                                                               N/A

    Abad,              NY            USA             Abad, Edelmiro    Child
4   Rebecca                                                                                N/A

5   Abad, Serena       NY            USA             Abad, Edelmiro    Child               N/A
    Adams,             GA            USA             Adams, Shannon    Sibling             N/A
6   Michael
    Adams-Floyd,       FL            USA             Adams, Shannon    Sibling             N/A
7   Kylie
    Adderley,          MI            USA             Adderley, Jr.,    Parent              N/A
8   Mary                                             Terence
    Agnes,             NY            USA             Agnes, David      Parent              N/A
9   Carmen
   Ahladiotis,         NY            USA             Ahladiotis,       Parent              N/A
10 Miltiadis                                         Joanne
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     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's    New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name               Relationship to   of
     last name)         Residency     Citizenship/N                      9/11 Decedent     Complaint
                        at filing     ationality on                                        Discussing
                        (or death)    9/11/2001                                            9/11
                                                                                           Decedent
   Ahladiotis-    NY                  USA             Ahladiotis,        Sibling             N/A
11 Salloum, Effie                                     Joanne

12 Aiken, Andre         NY            USA             Aiken, Terrance    Child               N/A

   Aiken,               NY            USA             Aiken, Terrance    Sibling             N/A
13 Cassandra

14 Aiken, Kanian NY                   USA             Aiken, Terrance    Child               N/A

     Aiken,             SC            USA             Aiken, Terrance    Sibling             N/A
     Michael
15


   Aiken-               NY            USA             Aiken, Terrance    Sibling             N/A
16 Dorismond,
   Kecia
   Alger Geffen,        DC            USA             Alger, David       Child               N/A
17 Roxana

   Amato,               NY            USA             Ashton, Thomas     Sibling             N/A
18 Colleen

   Amigron,             NY            USA             Carroll, Michael   Sibling             N/A
19 Nancy

   Ammirati,            NY            USA             Wall, Glen         Sibling             N/A
20 Diane

   Andrucki,            NY            USA             Andrucki, Jean     Parent              N/A
21 Mary

   Andrucki             NY            USA             Andrucki, Jean     Sibling             N/A
22 Izzo, Laura

   Angelini,            NY            USA             Angelini, Sr.,     Child               N/A
23 Annmarie                                           Joseph
   Angelini,            MD            USA             Angelini, Sr.,     Child               N/A
24 Mary                                               Joseph
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    Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
    (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
    last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                       at filing     ationality on                                       Discussing
                       (or death)    9/11/2001                                           9/11
                                                                                         Decedent
   Angelini,           NY            USA             Angelini, Sr.,    Child               N/A
25 Michael                                           Joseph




Dated: February 16, 2021




                                                        Respectfully submitted,

                                                        KREINDLER & KREINDLER LLP

                                                        BY: /s/ James P. Kreindler
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